          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                        CRIMINAL NO. 2:06CR16-2


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                       ORDER
                         )
                         )
KEVIN PHILLIP MOOSMAN    )
                         )


      THIS MATTER is before the Court on a Petition for Claim of

Ownership of Vehicle filed by Robert and Lynn Moosmann, parents of the

Defendant.

      The Moosmans state that they are responding to the Government’s

Public Notice of Action and Pending Forfeiture of Property that includes a

2000 Dodge Intrepid which they allege they own and allowed their son, the

Defendant, to use while attending college at Western Carolina University,

and which the Government alleges was used by the Defendant to facilitate

his drug activities. After review of the Petition, the Court finds that the

Government should file response.




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     IT IS, THEREFORE, ORDERED that the Clerk provide the

Government with a copy of the Moosmanns’ Petition and that the

Government file response thereto on or before 30 days from entry of this

Order.



                                     Signed: December 28, 2006




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